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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,
 Plaintiffs,
     v.                                                   5:21-cv-844-XR

 GREGORY W. ABBOTT, et al.,
 Defendants.


 OCA-GREATER HOUSTON, et al.,
 Plaintiffs,
     v.                                                   1:21-cv-0780-XR

 JANE NELSON, et al.,
 Defendants.


        OCA PLAINTIFFS’ UNOPPOSED MOTION TO WITHDRAW COUNSEL

       Pursuant to Local Court Rule AT-3, Plaintiffs OCA-Greater Houston, League of Women

Voters of Texas, and REVUP-Texas (OCA Plaintiffs) respectfully move the Court for leave to

withdraw Andre Segura and Samantha Osaki as counsel of record for OCA Plaintiffs. Mr. Segura

and Ms. Osaki are no longer employed by the ACLU Foundation of Texas or the American Civil

Liberties Union Foundation, respectively. OCA Plaintiffs will continue to be represented by the

undersigned counsel of record. Defendants do not oppose this motion.



Date: August 29, 2023.

                                                                 Respectfully submitted,

                                                                 /s/ Zachary Dolling




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                             CERTIFICATE OF CONFERENCE

       I certify that on August 25, 2023, I conferred via e-mail with counsel for all parties

regarding the contents of this motion. No party indicated opposition to this motion.

                                                            /s/ Zachary Dolling

                                 CERTIFICATE OF SERVICE

       By my signature below, I certify that a true and correct copy of the foregoing has been

served on all counsel of record on August 29, 2023, through the Electronic Case File System of

the Western District of Texas.

                                                     /s/ Zachary Dolling
